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UN|TED STATES OF AN|ERICA
flu/b DEIVICON, INC.,

Plaintiff,
v. No. 02-2702 B/P

ABOTT ASBESTOS, |NC. and
MARKEL lNSURANCE CON|PAN¥, |NC.,

\_r\-.¢¢‘~_r"-_¢'~_¢\-_r\_¢"-¢\-r\q_rv~_p

Defendants,

 

NlARKEL lNSURANCE COMPANY, |NC.,
Third-Party Plaintiff,
v.

JASON WARDEN, L|NDA WARDEN,
FLVNN WARDEN and RHONDA WARDEN,

\-.r‘-d"-_r`,¢`_r\-_r'-_r'~_r\_¢‘-.r*-r

Third-Party Defendants.

 

CONSENT ORDER OF D|SMISSAL OF THE
ORIG|NAL COMPLA|NT W|TH PREJUD|CE

 

The plaintiff, United States of America d/b/a DemCon, |nc. (“DemCon"), and the
defendant, |'\/|arke| insurance Company (“i\/|arke|”), announce to the Court that all matters
in dispute and ali controversies that exist between them have been resolved and settled,
and that the original complaint filed by DemCon on September 9, 2002 should be
dismissed With prejudicel

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|T |S SO ORDERED THiS lib DAY OF JULY, 2005.

This document entered on the docket sheet ln compliance

with Rule 58 and!0r79{a) FFlCP on 2-* 1 Z'@$‘ if §

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Case 2:02-cv-02702-.]DB-tmp Document91 Fi|e 07/11/05 Page20f4 Page|D 96

 

 

APPROVED:

Cbi/M NMMWI%$'%M>UA Pl/WWM\
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|\/chonald Kuhn, PLLC

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Attorney for |V|arke| insurance Cornpany

H'\DOCS`\¢lQOB\pid ebs - consent order ot dismissal of the original company With prejudice,wpd

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 91 in
case 2:02-CV-02702 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

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Honorable J. Breen
US DISTRICT COURT

